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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
LYNCHBURG DIVISION

UNITED STATES,
Plaintiffs,

v. Case No, 6:22-cv-28-NKM

ENVIGO RMS, LLC,

Defendant.

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DECLARATION OF CARMEN WILBOURN IN SUPPORT OF ENVIGO’S RESPONSE
TO PLAINTIFE’S MOTION FOR PRELIMINARY INJUNCTION

I, Carmen Wilbourn, declare the following to be true and correct to the best of my
knowledge:

1, I joined Envigo RMS, LLC (“Envigo”) in May 2021 as the Vice President of
North American Operations. I had oversight of 11 sites, including the Cumberland facility.
There were approximately 500 people reporting up through me. In January 2022, my
responsibilities were changed to allow me to focus on our canine and rabbit facilities in North
America. For the past few months, I have been working primarily out of the Cumberland
facility.

2. [ve been in the industry for over 35 years. For the 15 years prior to joining
Envigo, | was responsible for ensuring the proper and lawful operations of animal facilities

across the globe, and have had more than 1,500 employees reporting up through me.
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3. In July 2021, the Cumberland facility was one of the 11 sites | oversaw. That
month, the United States Department of Agriculture (“USDA”) inspected the Cumberland
facility. We used the reports from that inspection in our efforts to prioritize improvements we
needed to make at the facility, and began to implement those solutions. In the following months,
Envigo invested significant resources to upgrade the facility and the animal care program.

4. Over the past year, we have made major improvements to the facility and staffing,
including installing over 1,200 new aluminum dog doors, correcting gaps in enclosures,
relocation of and upgrading the flooring in the weaning and whelping area, purchasing over 500
whelping boxes, installing generators and cooling towers to regulate temperature, hiring a board-
certified veterinarian behaviorist to assist with the aggression issues, transferring veterinary staff
from other Inotiv facilities, and hiring a contract veterinarian to assist with dentals, as well as
hiring additional! staff. All these efforts were aimed at improving the health and experience of
the dogs, and also addressing issues raised by the USDA. We continued to make improvements
to the facility as part of a collaborative dialogue with the USDA over a series of months.

5. I was present during the execution of the search warrant on May 18-22, 2022, and
during the inspection on June 8, 2022.

6. Since the Court Order issued on May 21, 2022, our entire team at Envigo’s
Cumberland facility has been working tirelessly to respond to the requirements in the Order and
to care for the dogs. Actions we have taken include:

a. On the weekend the Court Order was issued, a family member of our staff drove
more than 200 miles to pet supply and general stores in the area to buy all of the

food/water bow!s available.
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b. Ordering 2,000 steel food/water bowls for gradual introduction into the
enclosures, at a cost of nearly $6,000.

c. Purchasing and trialing black rubber mats in enclosures to address concerns with
the flooring, at a cost of over $334,000.

d. Ordering and installing partitions for enclosures at a cost of $213,000.

e. Installing additional cooling equipment to ensure temperature regulation.

f. Researching and helping order enough compounded medications to treat all dogs
in the facility for Giardia when one had tested positive.

7. Envigo ceased all breeding, selling, or otherwise dealing in beagles at the
Cumberland Facility immediately upon receiving notice of the Court’s Order, and has not
resumed any breeding, selling, or otherwise dealing in beagles since the Order was issued.

8. My team and I continue to work every day on improving the conditions at the
facility and caring for the dogs. Maintaining the quality of life for the dogs requires constant
vigilance. We are committed to continuing to provide a high level of care and attention for as
long as the facility remains in operation.

9, Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the
foregoing is true and correct to the best of my knowledge and belief.

Executed on June 13, 20272.

Carmen Wilbourn

